Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 1 of1 8ofPageID:
                                                         Page         8      1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 _______________________________
 DORIS BURNISH                   )
                                 )                   Case Number
              Plaintiff          )
                                 )
              vs.                )                   CIVIL COMPLAINT
                                 )
 BONDED CREDIT BUREAU,          )
 INC. d/b/a DRS BONDED           )
                                 )                   JURY TRIAL DEMANDED
                                 )
              Defendant          )
 _______________________________)




                         COMPLAINT AND JURY DEMAND

        COMES NOW, Plaintiff, Doris Burnish, by and through her undersigned

 counsel, Bruce K. Warren, Esquire and Brent F. Vullings, Esquire of Warren & Vullings,

 LLP, complaining of Defendant, and respectfully avers as follows:



                         I. INTRODUCTORY STATEMENT

        1.      Plaintiff, Doris Burnish, is an adult natural person and brings this action

 for actual and statutory damages and other relief against Defendant for violations of the

 Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits

 debt collectors from engaging in abusive, deceptive and unfair practices.
Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 2 of2 8ofPageID:
                                                         Page         8      2




                                     II. JURISDICTION

         2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

 § 1337.

         3.      Venue in this District is proper in that the Defendant transacts business in

 this District and maintains a registered office in this District.



                                        III. PARTIES

         4.      Plaintiff, Doris Burnish, is an adult natural person residing at 9770

 Avenue C, Mecosta, MI 49332.

         5.      Defendant, Bonded Credit Bureau, Inc. d/b/a DRS Bonded (“Defendant”),

 at all times relevant hereto, is and was a corporation engaged in the business of collecting

 debt with a registered office at 820 Bear Tavern Road, Trenton, New Jersey and its

 principal place of business located at 7745 East Kemper Road, Cincinnati OH 45249.

         6.      Defendant is engaged in the collection of debts from consumers using the

 telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

 due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

 §1692a(6).

                             IV. FACTUAL ALLEGATIONS

         7.      On or about October 29, 2009, Plaintiff retained the services of the law

 offices of Persels & Associates to aid her in the settlement of her unsecured debt.

         8.      On that same date, Persels & Associates sent a cease and desist letter to

 the Defendant to inform them of their representation of the Plaintiff and to advise them
Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 3 of3 8ofPageID:
                                                         Page         8      3




 that the Plaintiff‘s sole source of income was SSI and that she has no assets that can be

 levied to pay her debt to Citifinancial. Persels & Associates requested that the Defendant

 consider writing off this debt, because collection efforts would be futile. See Exhibit

 “A” (letter) attached hereto.

        9.      On or about November 20, 2009, an agent of the Defendant called Plaintiff

 and spoke with her daughter, Laura in regards to the debt owed to Citifinancial in an

 amount exceeding $12,000.00. Plaintiff is elderly and in poor health.

        10.     Plaintiff’s daughter went on to tell the Defendant’s agent that they needed

 to contact Persels & Associates in regards to this matter. Defendant’s agent took the

 information to call Persels & Associates and ended the call.

        11.     Defendant’s agent called Plaintiff’s daughter back about fifteen (15)

 minutes later and stated that she had called Persels & Associates as instructed and that

 they could not do anything to help her. At no time on either call did Defendant’s agent

 give the mini-Miranda notice as required by the FDCPA.

        12.     During that same call Plaintiff’s daughter informed Defendant’s agent

 again that she needed to speak to her mother’s attorneys’ at Persels & Associates.

 Defendant’s agent responded that Persels & Associates could not help Plaintiff with her

 “collateral collections”. Defendant’s agent said that she needed to have something to tell

 their client about their merchandise.

        13.     Defendant’s agent then asked Plaintiff’s daughter if her mother still lived

 at 9770 Avenue C and was the merchandise (furniture) that was purchased still there, so

 that she could inform Defendant’s client of its whereabouts.
Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 4 of4 8ofPageID:
                                                         Page         8      4




         14.     Plaintiff’s daughter did not confirm her mother’s address and asked

 Defendant’s agent if she was making a threat. Defendant’s agent said that she was not

 making a threat, but told Plaintiff’s daughter that her mother was “stealing” because she

 purchased something and did not intend to pay for it. Plaintiff’s daughter ended the call.

         15.     Defendant and their agents continue to call and demand payment on the

 above mentioned debt.

         16.     The Defendant acted in a false, deceptive, misleading and unfair manner

 by threatening to take action that it did not intend to take for the purpose of coercing

 Plaintiff to pay the debt.

         17.     The Defendant acted in a false, deceptive, misleading and unfair when

 they engaged in conduct the natural consequence of which is to harass, oppress or abuse

 such person in connection with the collection of a debt.

         18.     The Defendant knew or should have known that their actions violated the

 FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

 their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

 to adequately review those actions to insure compliance with the law.

         19.     At all times pertinent hereto, the conduct of Defendant was malicious,

 intentional, willful, reckless, negligent and in wanton disregard for federal and state law

 and the rights of the Plaintiff herein.

         20.     As a result of Defendant’s conduct, Plaintiff has sustained actual damages,

 including, but not limited to, injury to Plaintiff’s reputation, invasion of privacy, damage

 to Plaintiff’s credit, out-of-pocket expenses, physical, emotional and mental pain and
Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 5 of5 8ofPageID:
                                                         Page         8      5




 anguish and pecuniary loss and she will continue to suffer same for an indefinite time in

 the future, all to his great detriment and loss.



                                     COUNT I – FDCPA

         21.     The above paragraphs are hereby incorporated herein by reference.

         22.     At all times relevant hereto, Defendant was attempting to collect an

 alleged debt which was incurred by Plaintiff for personal, family or household purposes

 and is a “debt” as defined by 15 U.S.C. § 1692a(5).

         23.     The foregoing acts and omissions constitute violations of the FDCPA,

 including but not limited to, violations of:

                 §§ 1692b(1)             Contact of Third Party: Failed to identify

                                         themselves, or failed to state that collector is

                                         confirming or correcting location information

                 §§ 1692b(2)             Contact of Third Party: Stated that consumer owes

                                         any debt

                 §§ 1692b(3)             Contact of Third Party: Contacted a person more

                                         than once, unless requested to do so

                 §§ 1692b(6)             Contact of Third Party: After knowing the

                                         consumer is represented by an attorney

                 §§ 1692c(a)(2)          After it knows the consumer to be represented by an

                                         attorney unless attorney consents or is unresponsive

                 §§ 1692c(b)             With anyone except consumer, consumer’s

                                         attorney, or credit bureau concerning the debt
Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 6 of6 8ofPageID:
                                                         Page         8      6




             §§ 1692c(c)        After written notification that consumer refuses to

                                pay debt, or that consumer wants collector to cease

                                communication

             §§ 1692d           Any conduct the natural consequence of which is to

                                harass, oppress, or abuse any person

             §§ 1692d(5)        Caused the phone to ring or engaged any person in

                                telephone conversations repeatedly

             §§ 1692d(6)        Placed telephone calls without disclosing his/her

                                identity

             §§ 1692e           Any other false, deceptive, or misleading

                                representation or means in connection with debt

                                collection

             §§ 1692e(2)        Character, amount, or legal status of the alleged

                                debt

             §§ 1692e(5)        Threaten to take any action that cannot be legally

                                taken or that is not intended to be taken

             §§ 1692e(10)       Any false representation or deceptive means to

                                collect a debt or obtain information about a

                                consumer

             §§ 1692e(11)       Communication did not contain the min-Miranda

                                warning: “This is an attempt to collect a

                                debt…communication is from a debt collector”
Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 7 of7 8ofPageID:
                                                         Page         8      7




               §§ 1692f                Any unfair or unconscionable means to collect or

                                       attempt to collect the alleged debt



        WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

 Defendant, Bonded Credit Bureau, Inc. d/b/a DRS Bonded, for the following:

        a.     Declaratory judgment that Defendant’s conduct violated the FDCPA and

               declaratory and injunctive relief for the Defendant’s violations of the state

               Act;

        b.     Actual damages;

        c.     Statutory damages pursuant to 15 U.S.C. § 1692k;

        d.     Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

        e.     Such additional and further relief as may be appropriate or that the

               interests of justice require.
Case 3:09-cv-06230-JAP-TJB Document2334
       Case 3:33-av-00001 Document  1 Filed 12/09/09
                                         Filed 12/09/09Page 8 of8 8ofPageID:
                                                         Page         8      8




                                  V. JURY DEMAND

       Plaintiff hereby demands a jury trial as to all issues herein.



                                                Respectfully submitted,

                                                WARREN & VULLINGS, LLP

 Date: December 7, 2009                   BY:      /s/ Bruce K. Warren_
                                                Bruce K. Warren, Esquire

                                                   /s/ Brent F. Vullings_
                                                Brent F. Vullings, Esquire

                                                Warren & Vullings, LLP
                                                1603 Rhawn Street
                                                Philadelphia, PA 19111
                                                215-745-9800 Fax 215-745-7880
                                                Attorneys’ for Plaintiff
